Case 4:22-cv-00058-MSD-LRL Document 16 Filed 02/03/23 Page 1 of 2 PageID# 53




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division


RONALD W. WALDEN, JR.,

          Plaintiff,                               Civil Action No: 4:22-cv-00058-MSD-LRL

v.

SHOPS AT HAMPTON TOWNE
CENTRE, LLC,
a Delaware Limited Liability Company,

          Defendant.


                            STIPULATION OF SETTLEMENT

          PLEASE TAKE NOTICE Plaintiff Ronald W. Walden, Jr. and Defendant Shops at

Hampton Towne Centre, LLC (together, “Parties”) reached an agreement regarding all disputed

issues in the case, including attorneys’ fees and expenses, as evidenced by the Agreed Order of

Dismissal endorsed by all parties and attached to this Stipulation as Exhibit A. Accordingly, the

parties request that the Court enter the attached order and remove this action from the Court’s

docket.

                                            Ronald W. Walden, Jr.

                                            By: /s/ Deborah C. Waters
                                                    Deborah C. Waters, Esquire
                                                    Virginia State Bar # 28913
                                                    L. Clayton Magee, Esquire
                                                    Virginia State Bar # 95399
                                                    Waters Law Firm, P.C.
                                                    Town Point Center Building, Suite 600
                                                    150 Boush Street
                                                    Norfolk, VA 23510
                                                    Telephone: (757) 446-1434
                                                    Facsimile: (757) 446-1438
                                                    dwaters@waterslawva.com
Case 4:22-cv-00058-MSD-LRL Document 16 Filed 02/03/23 Page 2 of 2 PageID# 54




                                                    cmagee@waterslawva.com
                                                    Counsel for Plaintiff


                                                    Defendant Shops at Hampton
                                                    Towne Centre, LLC

                                            By: /s/ Barry Dorans
                                                   Barry Dorans, Esquire
                                                   Virginia State Bar #23472
                                                   WOLCOTT RIVERS GATES
                                                   200 Bendix Road, Suite 300
                                                   Virginia Beach, VA 23452
                                                   Telephone: (757) 497-6633
                                                   Facsimile: (757) 497-7267
                                                   dorans@wolriv.com
                                                   Counsel for Defendant


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of February 2023, I have filed the foregoing document

via the Court’s CM/ECF system, which will make electronic service on the following:

Barry Dorans, Esquire
WOLCOTT RIVERS GATES
200 Bendix Road, Suite 300
Virginia Beach, VA 23452
                                            By: /s/ Deborah C. Waters
                                                    Deborah C. Waters, Esquire
                                                    Virginia State Bar # 28913
                                                    L. Clayton Magee, Esquire
                                                    Virginia State Bar # 95399
                                                    Waters Law Firm, P.C.
                                                    Town Point Center Building, Suite 600
                                                    150 Boush Street
                                                    Norfolk, VA 23510
                                                    Telephone: (757) 446-1434
                                                    Facsimile: (757) 446-1438
                                                    dwaters@waterslawva.com
                                                    cmagee@waterslawva.com
                                                    Counsel for Plaintiff


                                               2
